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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA

v.                                               CRIMINAL NO. 2:04-00019-03
                                                              2:04-00019-04
BRANDI HAMBRICK                                               2:04-00019-07
ERIC GIRAULT
CABELL JOE PATMON


                          MEMORANDUM OPINION AND ORDER
                           ON PRETRIAL MOTIONS HEARING

       At a hearing held on July 22, 2005, defendant Hambrick appeared

by counsel, David Schles, defendant Girault appeared by counsel,

Mark French, defendant Patmon appeared in person and by counsel,

David Perry, and the United States appeared by Assistant United

States Attorney Stephanie L. Haines for the purpose of considering

the parties’ pretrial motions in this matter.              As a preliminary

matter, the court confirmed with defense counsel that defendants

Hambrick and Girault had waived their right to be present in person

for the pretrial motions hearing.

       During the course of the hearing, counsel for the United States

disclosed that it intended to dismiss the charges against defendant

Patmon in this matter, and to proceed to trial only against

defendants Hambrick and Girault.          An order has since been entered to

that effect (Doc. No. 312).         Accordingly, the court deems MOOT the

pretrial motions filed by defendant Patmon in this matter.
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     After confirming that the only pretrial motions pending before

the court at the hearing were submitted on behalf of defendant

Hambrick, defendant Girault having submitted no pretrial motions,

the court heard argument from counsel for defendant Hambrick and

from A.U.S.A. Haines with regard to defendant Hambrick’s pending

motions.   Defendant Hambrick’s motion for disclosure of grand jury

transcripts (Doc. No. 49) was resolved by an agreement between the

parties that the United States would resubmit a complete set of all

grand jury transcripts to each of the defendants.

     The court then DENIED defendant Hambrick’s motion for a bill of

particulars (Doc. No. 48).      In so doing, the court noted that a bill

of particulars is an unusual remedy, and that the voluminous nature

of the discovery in this matter does not justify granting

defendant’s motion.     See United States v. Jackson, 757 F.2d 1486,

1491 (4th Cir. 1985) (holding that grant of a bill of particulars

lies in the discretion of the trial court, and that a defendant may

show an abuse of discretion by proving unfair surprise).              However,

the court GRANTED defendant’s oral motion to limit the United

States’ case with regard to the alleged conspiracy to those persons

named by A.U.S.A. Haines at the hearing.          The court then DIRECTED

counsel for the United States to submit a list of the names of these

persons to the court and to counsel for the defendants.




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     The court next heard argument with regard to defendant

Hambrick’s motion to suppress (Doc. No. 50).           Counsel for the

defendant stipulated certain facts with regard to the standing issue

set forth in the Government’s response to the motion to suppress,

and further acknowledged that, with regard to the issue of defendant

Hambrick’s standing to challenge the search of the apartment, his

motion asks the court to extend the concept of standing to a person

who is not an overnight or invited guest of the owner.             This the

court DENIED on the basis of Minnesota v. Carter, 525 U.S. 83

(1998).

     The court then questioned counsel for the United States and for

defendant Hambrick with regard to whether the police were obligated

to obtain a separate search warrant in order to search the purse and

the black luggage belonging to Hambrick that were found in the

Washington Street apartment at the time the search warrant for that

apartment was executed.     After hearing the testimony of Special

Agent E.H. Kennedy on this point, the court took the matter under

advisement.   Having now fully considered the matter, the court

DENIES defendant Hambrick’s motion to suppress as to both the purse

and the luggage.

     As an initial matter, the court notes that the United States

Supreme Court has held that “[a] lawful search of fixed premises

generally extends to the entire area in which the object of the

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search may be found and is not limited by the possibility that

separate acts of entry or opening may be required to complete the

search.”   United States v. Ross, 456 U.S. 798, 820-21 (1982).

However, courts appear to disagree with regard to the circumstances

under which such a search extends to the belongings of visitors to

the premises when those belongings are found on the premises at the

time of the search.     Having determined that the United States Court

of Appeals for the Fourth Circuit has apparently not addressed the

issue in a published opinion, the court has looked to cases from

other circuits.

     Many jurisdictions approach situations like that at hand by

analyzing what relationship the visitor whose belongings were

searched bears to the premises that were the subject of the search

warrant.   Where the visitor is more than a mere casual passerby –

for example, where the visitor is engaged in criminal activity

connected with the premises – the search of that visitor’s

belongings is generally upheld.       In United States v. Neet, 504 F.

Supp. 1220 (D.C. Colo. 1981), the search of a visitor’s briefcase

was upheld where the visitor arrived at the scene during a drug

transaction, and where he signaled to another man who was attempting

to destroy evidence of the drugs when the police entered the house.

Considering his implication in the criminal activity taking place at

the premises, the Neet court found the visitor could have no

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legitimate expectation of privacy in the contents of his briefcase

such that it should be excluded from the search of the premises.

Id. at 1228.   In so holding, the court distinguished the situation

before it from one of a “‘mere visitor’ who suddenly found his

belongings vulnerable to a search of the premises.”              Id.; see also

United States v. Giwa, 831 F.2d 538 (5th Cir. 1987), and United

States v. Micheli, 487 F.2d 429 (1st Cir. 1973).

     Courts applying this “relationship test” also consider other

factors, such as the time and circumstances under which the visitor

and his or her belongings are found on the premises.              In United

States v. Gray, 814 F.2d 49 (1st Cir. 1987), a controlled purchase

was made from a woman at the subject residence, as a result of which

officers obtained a search warrant for the premises.              Id. at 50.

After completing a second controlled buy at the premises in the

early hours of the morning, officers executed the search warrant and

found the defendant, whose identity and connection with the

residence were unknown, lying on the floor in the living room.                 Id.

Spotting a jacket draped over a chair in an outer room of the

residence, an officer began to search it and found a bag of cocaine,

as well as an identification card issued to the defendant.               Id.    The

officer halted his search at that point and confirmed with the

defendant that the jacket belonged to him.             Id.   The First Circuit

upheld the search of the jacket, observing that the defendant was

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not a “casual afternoon visitor to the premises.”             Id. at 51.     “To

the contrary,” the Court continued, “he was discovered in a private

residence, outside of which a drug deal had just ‘gone down,’ at the

unusual hour of 3:45 a.m.”       Id.

     Although the Gray court took care to note that there was no

indication prior to the search of the jacket as to who owned it,

notice on the part of police as to ownership of the belongings

searched is not dispositive as to admissibility.             This is made

evident by the Neet case cited above, among others.              For example, in

United States v. Johnson, 475 F.2d 977 (D.C. Cir. 1973), the Court

of Appeals for the District of Columbia Circuit upheld the search of

a woman’s purse found on a coffee table during execution of a search

warrant.   The search warrant was authorized for the apartment of a

male suspect, and the police received notice prior to the search

that the defendant, a female visitor to the premises, was also

present in the residence.      Id. at 978.

     In finding the search of the purse authorized by the search

warrant for the premises, the Court applied a different test from

the “relationship test” used in the cases cited above.              The Court

applied what might be described as a “physical proximity test,” and

considered the fact that the purse was lying on a coffee table,

rather than being carried on the defendant’s person, at the time the

search occurred.       As such, the Court reasoned, any invasion of the

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defendant’s privacy entailed by the search was of a lesser degree

than if she had been carrying the purse at the time it was taken and

searched.   Id. at 979.      This “physical proximity test” has been

applied similarly in other cases, as well.              See, e.g., United States

v. Teller, 397 F.2d 494 (7th Cir. 1968).

     Both the “relationship test” and the “physical proximity test”

are useful in analyzing a search pursuant to the Fourth Amendment.

The latter test, of course, is the simplest to apply.               However, it

does not appear to be as thoroughly reasoned as its alternative.

Although, as explained in relation to the Johnson case above, the

“physical proximity test” includes at its core a concern for the

degree to which a subject’s privacy is invaded, applying the test

with no other considerations could “facilitate the insulation of

incriminating evidence from lawful searches through the simple act

of stuffing it in one’s purse or pockets.”              United States v. Young,

909 F.2d 442, 445 (11th Cir. 1990).         The “relationship test,” on the

other hand, might be fairly criticized as promotive of inefficiency

and uncertainty.       See United States v. Vogl, 7 Fed. Appx. 810, 816

(10th Cir. March 2, 2001).       However, by analyzing the relationship a

person bears to the premises searched, the test is better able to

take into account what legitimate expectations of privacy the person

might have in his or her belongings.




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     The court need not resolve the issue of which of these tests

better serves the purposes of the Fourth Amendment, as the search in

question satisfies both.     In the case before the court, officers had

been monitoring defendants Hambrick and Girault and others prior to

obtaining a search warrant.      On the basis of their observations and

because of evidence obtained by interception of telephone and cell

phone conversations, the officials had reason to believe that these

defendants and others were involved in illegal drug activity.

Furthermore, their surveillance indicated that Hambrick and Girault,

among others, had become suspicious that they were being followed by

investigators.    Based on their surveillance, officers obtained a

search warrant for the Washington Street apartment, where they

believed defendant Girault to be staying while in town.              Upon

arrival at the apartment, which the officers secured prior to

obtaining the warrant, the officers found defendants Hambrick and

Girault, as well as a third individual, Tarique Khan.

     During execution of the search warrant, the officers located a

woman’s purse on a coffee table.       Inside the purse they found

approximately $900.00 in cash, as well as a driver’s license in the

name of defendant Hambrick.      Additionally, officers discovered a

black suitcase similar in appearance to one they had earlier seen in

the possession of defendant Girault as he and defendant Hambrick

exited from the hotel where Hambrick had been staying.             Inside the

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suitcase they found women’s clothing and toiletries, and a bag

containing more than $18,000.00 in cash.

     It appears to be undisputed that neither the purse nor the

suitcase was in the immediate possession or on the person of

defendant Hambrick at the time of the search.           Furthermore, there is

significant evidence indicating that Hambrick was no “mere casual

visitor” to the Washington Street apartment, but rather was there

because of her apparent involvement, along with defendant Girault

and others, in illegal drug activity.         Accordingly, the search of

Hambrick’s belongings satisfies both the “relationship test” and the

“physical proximity test,” as set forth above, and the motion to

suppress is denied.

     The Clerk is directed to send and FAX a copy of this written

opinion and order to counsel of record, and to send a copy to the

Probation Office of this court and the United States Marshal for the

Southern District of West Virginia.

     It is SO ORDERED this 2nd day of August, 2005.

                                          ENTER:




                                          David A. Faber
                                          Chief Judge




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